Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 1 of 7
Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 2 of 7
Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 3 of 7
Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 4 of 7
Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 5 of 7
Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 6 of 7
Case 3:11-cr-00013-MCR   Document 313   Filed 07/22/11   Page 7 of 7
